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                  UNITED STATES BANKRUPTCY COURT
             FOR THE NORTHERN DISTRICT OF MISSISSIPPI

             BENJAMIN B. FISHER               CASE NO.: 17-10176-JDW

             DEBTOR(S)                        CHAPTER 13


      WAIVER OF DISCHARGE AND MOTION FOR APPROVAL

      The Debtor(s) acknowledge(s) that the Court shall not grant a discharge

u der section 1328 (a) of the Bankruptcy Code in this chapter 13 case as a result of

  e prior bankruptcy case filed by the Debtor(s):

      X_ _
•-+-_ _       Section 1328(:£)(1) (prior bankruptcy case under chapter 7, 11, or 12)

,,-+-----Section 1328(:£)(2) (prior bankruptcy case under chapter 13)

      The Debtor(s) has/have executed this waiver of discharge voluntarily, after

 onsultation with the attorney for the Debtor(s) , and understand(s) the

 onsequences of executing this waiver.

      The discharge in this chapter 13 case is hereby irrevocably waived by the

  ebtor(s). The Debtor(s) request(s) that the Court approv


                                              )(
                                              DEBTOR


                                              DEBTOR

                                                ~. ~                fr ~o~t ~~1)
                                              ATTORNEY FOR DEBTOR(S)
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             INTHE UNITED STATES BANKRUPTCY COURT FOR
                THE NORTHERN DISTRICT OF MISSISSIPPI

If THE MATTER OF:                                         CHAPTER 13 NO.:

~IENJAMIN B. FISHER                                       17-10176-JDW

                ORDER APPROVING WAIVER OF DISCHARGE

      This day there came on for consideration the Motion for Approval of the Waiver

o Discharge (the "Motion") by the Debtor(s) in the above-styled bankruptcy case. The

 ourt, being full advised in the premises, finds that the Motion is well taken and



      IT IS THEREFORE, ORDERED AND ADJUDGED, that the Motion is granted

 nd the Waiver of Discharge is approved.

                              ##END OF ORDER##
, UBMITTED BY:


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